
¶ 1 Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen, Stephens, Gonzalez and Yu, considered at its January 8, 2019, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted and this case is consolidated under Supreme Court No. 96344-4 - State of Washington v. Karl Emerson Pierce, et al. All further documents should be filed under Supreme Court No. 96344-4. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
For the Court /s/Fairhurst, C.J. CHIEF JUSTICE
